[NOT FOR PUBLICATION]
United States Court of Appeals
For the First Circuit

No. 97-2228

   LTX CORPORATION,

Plaintiff, Appellant,

          v.

DAEWOO CORPORATION, ET AL.,

Defendants, Appellants.

APPEAL FROM THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

[Hon. George A. O'Toole, Jr., U.S. District Judge]

        Before

Boudin, Circuit Judge, 
Coffin and Cyr, Senior Circuit Judges.

Joseph L. Kociubes with whom Melissa M. Thompson was on
brief for appellant.
Gordon T. Walker with whom Steven W. Kasten and Christopher
R. Bush were on brief for appellees.

March 12, 1998

Per Curiam.  LTX Corporation, a Massachusetts manufacturer of
semi-conductor testing equipment, brought suit in United States
District Court in Massachusetts for breach of contract and
negligent supervision against Daewoo Electronics, Ltd., a Korean
manufacturer of various electronic products, and Daewoo
Corporation, a Korean company that distributes products for Daewoo
Electronics internationally.  The district court dismissed the
action for lack of personal jurisdiction, pursuant to Mass. Gen. L.
ch. 223A,  3 (1993) and Mass. Gen. L. ch. 223,  38 (1976), and
for forum non conveniens.  It also concluded that any prospective
service conforming to the requirements of  38 would not surmount
the hurdle of lack of general due process jurisdiction.  LTX
appeals these rulings and the district court's refusal to permit it
discovery on the jurisdictional issue.  After careful review of the
briefs, the complaint, the district court order, and the applicable
case law and statutes, we affirm for the reasons set forth in full
by the district court in LTX Corporation v. Daewoo Corporation, 979
F. Supp. 51 (D. Mass. 1996).  
